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                                                                           P              I      E     [pj\
                     IN THE UNITED STATES DISTRICT COURT                   P        JAN 1 1 2019
                     FOR THE EASTERN DISTRICT OF VIRGINIA                  J
                                Richmond Division
                                                                               CLERK, U.S. DISTRICT COURT
                                                                                     RICHMOND. VA



V.                                                                Criminal No. 3:14CR144

KEVIN LEE BENNETT,

       Petitioner.



                                MEMORANDUM OPINION


       Kevin Lee Bennett, a federal inmate proceeding pro se, submitted this motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence ("§ 2255 Motion," EOF No. 35).' The
Government has responded, asserting that Bennett's § 2255 Motion is barred by the statute of

limitations. (EOF No. 43.) Bennett filed an "OPPOSITION TO GOVERNMENT'S REQUEST

TO FILE 'OUTOFTIME,"' buthefails to address the Government's arguments.^ Forthereasons

set forth below, Bennett's § 2255 Motion will be denied as untimely.

                                I. PROCEDURAL HISTORY

       On October 27, 2014, Bennett pled guilty to possession of a firearm during and in

furtherance of drug trafficking (Count Two). (ECF No. 17, at 1-2.) On January 28, 2015, the

Court sentenced Bennett to 240 months of imprisonment, and Counts One and Three were




       '   Bennett titled his     motion, "ACTUAL INNOCENCE               OF      SENTENCING
ENHANCEMENT 28 U.S.C. § 2255." (§ 2255 Mot. 1 (emphasis omitted).)

       ^ Bennettcontendsthat the Government'sresponse was untimely andthat the Courtshould
deny the Government's request for an extension of time. (ECF No. 44, at 1-4.) However, on
February 8,2018, the Court granted the Government's motion for an extension of time and deemed
the response timely filed. (ECF No. 42, at I.)
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